8:00-cr-00130-LES-FG3   Doc # 423   Filed: 01/02/08   Page 1 of 1 - Page ID # 573



               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:00CR130
                              )
          v.                  )
                              )
JAVIER CORTES,                )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on plaintiff’s motion

for dismissal, without prejudice, of the indictment against

defendant Javier Cortes (Filing No. 420).             The Court finds said

motion should be granted.      Accordingly,

           IT IS ORDERED that plaintiff’s motion is granted; the

indictment as it relates to defendant Javier Cortes is dismissed

without prejudice.

           DATED this 2nd day of January, 2008.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
